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Middle District of Florida
. ORLANDO Division
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Inhy Case No.: 6:22-mj-02242-LHP
UNITED STATES OF AMERICA

Vs.

November 11, 2022
HOWARD B. ADAMS

Date Identified: Id- 2-92-
Date Admitted: ip-2- -2
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NOTICE

UNITED STATES DISTRICT COURT for the DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, INC. v. HOWARD B. ADAMS
case no.: 1:21-cr-00358-BAH

Title:
REJECTION OF OFFER TO CONTRACT

copy:
Angela D. Caesar, Clerk of the Court
Beryl B. Howell, Chief Judge
Michael Liebman, Assistant District Attorney

Case ©agenl:2224230B8-Dadurbati rented Hi2dd212 71 7PayeRageLRigelD 18

peg (5 mail Howard Berton Adams, Jr. <bosdad@gmail.com>
FW: Activity | in ‘Case 1 :24-cr-00358- BAH USA Vv. ADAMS Motion Hearing»

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Lisburn, Michael (USADC) Michael. iebmangoetiol ars as? Thu, ‘finns 10, 2022 at 2:53 PM.

To: "Howard Berton Adams, Jr." <bosdad@gmail.com> <
Cc: "charles@charleshaskell.com" <charles@charleshaskell.com>, "Brian A. cana presented.com>, "Jeremy
J. Buckmaster" <Jeremy@berepresented.com>

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Greetings, Mr. Adams. eV ae 4 o =< \ we ~o ast
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U.S. District Court

District of Columbia
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Attorney by Jeremy J. masteFand [3 ismi fist by HOWARD B.

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